                Case 17-14352-AJC           Doc 86     Filed 06/01/20       Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division

In re:                                                                        Case No.: 17-14352-AJC
LUIS MANUEL DIMAS aka                                                         Chapter 13
LUIS DIMAS,

      Debtor.
____________________________/

                         PEBBLEBROOK HOA , INC.’S
      NOTICE OF PAYMENT CHANGE OF MONTHLY MAINTENANCE ASSESSMENT

        Pebblebrook HOA, Inc. (“Association”), by and through counsel, hereby gives notice of the

following payment change on the monthly maintenance assessment (“Assessment”) due from the Debtor to

the Association as follows:

        a.      Commencing January 1, 2020, the Assessment was $115.00.

        The Association requests that the necessary action be taken to ensure that the correct payments are

provided for by the Debtor.

                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished upon all
registered users via the Court’s CM/ECF notification and Electronic Mail or in some authorized manner on
this 1st day of June, 2020 to: Robert Sanchez, Esq., 355 W. 49th Street, Hialeah, Florida 33012,
(court@bankruptcyclinic.com), and Nancy K. Neidich, Chapter 13 Trustee, POB 279806, Miramar,
Florida 33027.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court set forth in Local Rule 2090-1(a).

                                                         SIEGFRIED RIVERA
                                                         Attorneys for Association
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                                                         BY:/s/ Jeffrey S. Berlowitz, Esq.
                                                         Jeffrey S. Berlowitz, Esq.
                                                         Florida Bar No. 963739
                Case 17-14352-AJC          Doc 86      Filed 06/01/20      Page 2 of 2




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                               SOUTHERN DISTRICT OF FLORIDA
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In re:                                                                       Case No.: 17-14352-AJC
LUIS MANUEL DIMAS aka                                                        Chapter 13
LUIS DIMAS,

                 Debtor.
____________________________/

                                    CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on June 1, 2020, a true and correct copy of Secured Creditor’s Notice

of Payment Change of Monthly Maintenance Assessment, was served upon all registered users via the

Court’s CM/ECF notification, Electronic Mail to: Robert Sanchez, Esq., 355 W. 49th Street, Hialeah,

Florida 33012, (court@bankruptcyclinic.com), and Nancy K. Neidich, Chapter 13 Trustee, POB 279806,

Miramar, Florida 33027; and to all other parties subject to receiving service by the Court’s CM/ECF

notifications procedures.


         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court set forth in Local Rule 2090-1(a).

                                                         SIEGFRIED RIVERA
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                                                         BY:/s/ Jeffrey S. Berlowitz, Esquire
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